    Case  1:17-cv-00536-JAO-RLP Document 1 Filed 10/26/17 Page 1 of 6
    t*'- j£c^                                                              PageID #: 1
r                                                                   FILED IN THE
    i \ I #S i                                               UNITED STATES DISTRICT COURT
                                                                  district OF HAWAII
                                                                   OCT 2 6 2017
           Trina X. Easley-Jackson
       1   9773 Lawlor Street                              at—^ o'clofilf and-^O mln
           Oakland, CA 94605                                    SUE BEITIA. CLFRK
       2   510-719-9771
           In Pro Per
       3
                         IN THE UNITED STATES DISTRICT COURT
       4
                                  DISTRICT OF HAWAII
       5
                                     CIVIL DIVISION
       6


       7   TRINA X. EASLEY-JACKSON,                 COMPLAINT   FOR A
                                                    CIVIL CASE
       8
                                                    CASE   J!U7 00536 LEKR.p
       9
                  Plaintiff,
     10
           -vs-

     11


     12    HILTON HAWAIIAN VILLAGE, LLC,
           dba HILTON HAWAIIAN
     13    WAIKIKI BEACH RESORT,HILTON
           HAWAII CORPORATION, HILTON
     14    MANAGEMENT, LLC, PARK HOTELS
           & RESORTS, INC., JOHN DOES
     15    1-5, JOHN DOE CORPORATIONS
           1-5, JOHN DOE PARTNERSHIPS
     16    1-5, ROE NON-PROFIT
           CORPORATIONS 1-5 and ROE
     17    GOVERNMENTAL AGENCIES 1-5,

     18           Defendants.


     19
                                        COMPLAINT
     20
                       1.   At all times relevant herein, plaintiff TRINA
     21
           X. EASLEY-JACKSON was a citizen and resident of the State of
     22
           California.
     23
                      2.    At all times relevant herein, defendant
     24
           HILTON HAWAIIAN VILLAGE, LLC, dba HILTON HAWAIIAN VILLAGE
     25
           WAIKIKI BEACH RESORT, was a limited liability corporation,
     26
           incorporated under the law of the State of Delaware, having
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Case 1:17-cv-00536-JAO-RLP Document 1 Filed 10/26/17 Page 6 of 6   PageID #: 6
